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                        Exhibit A


Complete Copy of State Court Action
                                            Case 2:19-cv-01565-JCM-VCF Document 1-1 Filed 09/09/19 Page   2 of 14
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                                                                                                                             Steven D. Grierson
                                                                                                                             CLERK OF THE COURT


                                        1   COMP
                                            CHRISTOPHER R. MILTENBERGER, ESQ.
                                        2   Nevada Bar No. 10153
                                            JASON K. HICKS, ESQ.                                                          CASE NO: A-19-799126-C
                                        3   Nevada Bar No. 13149
                                            GREENBERG TRAURIG, LLP                                                                 Department 32
                                        4   10845 Griffith Peak Drive, Suite 600
                                            Las Vegas, NV 89135
                                        5   Telephone: (702) 792-3773
                                            Facsimile: (702) 792-9002
                                        6   Email: miltenbergerc@gtlaw.com
                                                   hicksja@gtlaw.com
                                        7
                                            Counsel for Plaintiff Las Vegas Sands, LLC
                                        8
                                        9                                                DISTRICT COURT
                                       10                                           CLARK COUNTY, NEVADA
10845 Griffith Peak Drive, Suite 600
   Las Vegas, Nevada 89135




                                       11
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                                            LAS VEGAS SANDS, LLC, a domestic limited                         Case No.:
      (702) 792-9002 (fax)
          (702) 792-3773




                                            liability company,                                               Dept. No.:
                                       12
                                                                   Plaintiff,
                                       13
                                            v.                                                                             COMPLAINT
                                       14
                                            ELIZABETH KAPLAN, individually; DOE I, AS                         Arbitration Exempt – Value in Excess of
                                       15   THE ADMINISTRATOR OF THE ESTATE OF                                 $50,000; Declaratory Relief Requested
                                            JOSEPH S. KAPLAN; DOES II through X,
                                       16   inclusive; ROE entities I through X, inclusive,
                                       17                          Defendants.
                                       18

                                       19

                                       20           Plaintiff, Las Vegas Sands, LLC (“Plaintiff” or “LVS”), by and through its attorneys of

                                       21   record, hereby complains and alleges against Defendants Elizabeth Kaplan and DOE I as the

                                       22   Administrator of the Estate of Joseph S. Kaplan, as follows:

                                       23                                                  THE PARTIES

                                       24           1.      Plaintiff is a domestic corporation with its principal place of business in Clark County,

                                       25   Nevada.

                                       26           2.      Upon information and belief, defendant Elizabeth Kaplan (“Elizabeth”) is a citizen

                                       27   and resident of the State of California.

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                                        1           3.      Defendant DOE I is the Administrator of the Estate of Joseph S. Kaplan (the “Estate”).

                                        2   Upon information and belief, letters of administration relating to the appointment of an Administrator

                                        3   or Special Administrator of the Estate have not yet been issued. Plaintiff therefore names DOE I as

                                        4   the Administrator of the Estate and will seek leave to amend the Complaint to substitute in the

                                        5   appropriate individual in his or her capacity as the Administrator or Special Administrator of the

                                        6   Estate at a later time after an Administrator or Special Administrator has been appointed, letters of

                                        7   administration of have been issued, and such information becomes known to Plaintiff.

                                        8           4.      The true names and capacities, whether individual, corporate, associate, or otherwise
                                        9   of Defendants DOES II through X and ROE entities I through X, including, but not limited to,
                                       10   Defendants’ officers, agents, servants, employees, representatives, or related persons or entities are
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   Las Vegas, Nevada 89135




                                       11   not currently known to Plaintiff and as such cannot yet be named herein. Therefore, Plaintiff sues
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                                       12   said Defendants by such fictitious names. Plaintiff is informed and believes, and on such basis
                                       13   alleges, that each of the Defendants designated as DOES II through X and ROE entities I through X
                                       14   is responsible in some manner for the events and occurrences referred to in this Complaint, and/or
                                       15   may be affiliated with one of the other Defendants. Plaintiff will seek leave of this Court to amend
                                       16   this Complaint and insert the true names and capacities of DOES II through X and ROE entities I
                                       17   through X and to join said Defendants in this action when the same have been ascertained.
                                       18                                     VENUE AND JURISDICTION

                                       19           5.      Jurisdiction is proper in this Court because these claims seek legal relief involving

                                       20   parties and/or their heirs, assigns, and representatives that transacted business in the State of Nevada,

                                       21   the conduct complained of herein substantially took place in the State of Nevada, and/or the

                                       22   Defendants are responsible for debt which was incurred in Nevada.

                                       23           6.      This Court has jurisdiction over Elizabeth because, under Nevada law, a spouse is

                                       24   liable for the debts of his or her spouse incurred during marriage, and a creditor may recover from the

                                       25   couple’s community property. Moreover, Elizabeth frequented Las Vegas dozens of times, stayed at

                                       26   Plaintiff’s properties, accepted the benefits of transacting business in Nevada on many occasions, and

                                       27   was present in Nevada with her husband when he incurred at least some of the subject debts and

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                                        1   enjoyed the benefits provided to her and decedent in connection with his gaming in which he incurred

                                        2   such debts.

                                        3           7.      This Court has jurisdiction over the Estate because, under Nevada law, where a Court

                                        4   would have jurisdiction over the decedent if he or she were alive, as it would it here, it accordingly

                                        5   has jurisdiction over the decedent’s estate. Hotel Ramada of Nevada v. Estate of Cheek, 716 F. Supp.

                                        6   473 (D. Nev. 1989).

                                        7           8.      Prior to his passing, Joseph S. Kaplan, decedent, signed written agreements (i.e., the

                                        8   “Markers,” as defined herein) whereby he agreed to “submit to the exclusive jurisdiction of the State
                                        9   Courts in Clark County, Nevada for the exclusive determination of any claim related to or arising
                                       10   from this instrument, [his] credit line or [his] gaming activities in Nevada.”
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                                       11           9.      Pursuant to NRS 13.040, Clark County, Nevada, is the proper venue for resolution of
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                                       12   the claims contained herein as the debt at issue, for which Defendants are responsible, was incurred
                                       13   in Las Vegas, Nevada.
                                       14                                       GENERAL ALLEGATIONS

                                       15           10.     Plaintiff incorporates by reference all allegations contained in all preceding paragraphs

                                       16   and reasserts those allegations as though fully set forth herein.

                                       17           11.     Joseph Kaplan (“Joseph”), now deceased, was an avid, high-stakes gambler who

                                       18   frequently stayed and gambled at various Las Vegas casinos, including, but not limited to, The

                                       19   Venetian Resort and The Palazzo Las Vegas, both owned and operated by LVS.

                                       20           12.     Upon information and belief, Joseph married defendant Elizabeth in or around the year

                                       21   2008, and the couple resided at various residences located in southern California and Colorado while

                                       22   married.

                                       23           13.     Joseph and Elizabeth frequently visited Las Vegas to vacation, and in particular to

                                       24   gamble. Plaintiff routinely provided complementary chartered private planes for both Joseph and

                                       25   Elizabeth, sometimes together, sometimes individually, and transported them to and from Las Vegas

                                       26   and southern California on numerous occasions. In particular, Elizabeth individually received at least

                                       27   two dozen chartered flights to or from Las Vegas, at Plaintiff’s expense, between December 2015 and

                                       28   April 2018. Joseph stayed at Plaintiff’s properties on more than thirty occasions during this time.
                                                                                                3
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                                        1           14.     Plaintiff provided complementary goods and services to both Joseph and Elizabeth

                                        2   while they were in Las Vegas such as spa treatments and other amenities, which Joseph and Elizabeth

                                        3   readily accepted. Indeed, on multiple occasions, Plaintiff arranged for butler services to make

                                        4   particular products available to Elizabeth upon her arrival, at her specific request, and to arrange spa

                                        5   treatments for her. Joseph and Elizabeth were regulars at Plaintiff’s properties, frequently demanding,

                                        6   and receiving, various valuable services at no cost to them as a result of Joseph’s gambling at the

                                        7   properties.

                                        8           15.     Joseph often took out credit markers to gamble at Plaintiff’s properties and various
                                        9   other casinos in Las Vegas. On one particular trip to Las Vegas, Joseph gambled at Plaintiff’s
                                       10   Venetian and/or Palazzo properties and, in doing so, requested and executed seven separate credit
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                                       11   markers between April 22 – May 4, 2018, and received $6,988,000 in credit from Plaintiff (hereinafter
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                                       12   collectively referred to as the “Markers”).
                                       13           16.     Joseph also maintained a safekeeping deposit account at Plaintiff’s property.
                                       14           17.     Each of the Markers contained a provision binding Joseph to the exclusive jurisdiction
                                       15   of the state courts in Clark County, Nevada, for the determination of any claim related to, or arising
                                       16   from, the Markers, his credit line, or his gaming activities in Nevada. Among other terms, the Markers
                                       17   also provided that, in the event the event the Markers were not repaid in full, Joseph agreed to be
                                       18   liable for interest at the rate of 18% per annum from the date the particular Marker was dishonored,

                                       19   plus all costs of collection, attorneys’ fees, litigation costs, and any other amounts authorized by law.

                                       20           18.     Upon information and belief, Joseph passed away in or around July 2018.

                                       21           19.     Prior to his passing, Joseph did not repay any portion of the $6,988,000 owed under

                                       22   the Markers.

                                       23           20.     Joseph and Elizabeth were married at the time Joseph took out the Markers and

                                       24   incurred the debt, and the two remained married until Joseph’s death.

                                       25           21.     Upon information and belief, Elizabeth was with Joseph in Las Vegas when he

                                       26   obtained at least one of the Markers.

                                       27           22.     Elizabeth specifically and personally benefited from the credit provided to Joseph by

                                       28   way of the Markers.
                                                                                               4
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                                        1           23.     Nevada and California are both community property states. With some exceptions not

                                        2   relevant here, under the laws of both states, an individual is liable to a creditor for the debts incurred

                                        3   by his or her spouse during marriage and recovery may be had against their community property.

                                        4           24.     As such, Elizabeth, as a member of the marital community with Joseph, is personally

                                        5   liable to Plaintiff for the debts incurred by Joseph under the Markers in the full amounts set forth

                                        6   therein, which may be satisfied by the community property of the marital community.

                                        7           25.     Similarly, Plaintiff is entitled to, and hereby seeks, recovery against DOE I as the

                                        8   representative of Joseph’s Estate, which itself is liable to Joseph’s creditors for his debts, Plaintiff
                                        9   included. Hotel Ramada of Nevada v. Estate of Cheek, 716 F. Supp. 473 (D. Nev. 1989) (exercising
                                       10   jurisdiction over out-of-state representative of a decedent’s estate to enforce collection by casino of
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                                       11   gambling markers owed by decedent); see also Linthicum v. Shenkman, 2013 U.S. Dist. LEXIS
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          (702) 792-3773




                                       12   130180, *5-6 (S.D. Cal. Sept. 10, 2013) (“The Court may properly exercise personal jurisdiction over
                                       13   Zielony’s estate, of which Defendant is executor, so long as the Court could properly exercise
                                       14   personal jurisdiction over Zielony, assuming he were alive.”) (citing Hartog v. Jots, Inc., C 03-2986
                                       15   SBA, 2004 U.S. Dist. LEXIS 24267, 2004 WL 2663197 (N.D. Cal. Jan. 9, 2004) (“If a decedent has
                                       16   minimum contacts with a forum state, then so too does his estate.”); SongByrd, Inc. v. Estate of
                                       17   Grossman, 206 F.3d 172, 181 (2d Cir. 2000).
                                       18           26.     Plaintiff is informed and believes that no probate proceeding has been initiated by

                                       19   Joseph’s heirs or interested party related to the Estate and therefore alleges, based upon such

                                       20   information and belief, that letters of administration relating to the appointment of an Administrator

                                       21   or Special Administrator of the Estate have not yet been issued. Plaintiff therefore names DOE I as

                                       22   the Administrator of the Estate and will seek leave to amend this Complaint to substitute in the

                                       23   appropriate individual in his or her capacity as the Administrator or Special Administrator of the

                                       24   Estate at a later time.

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                                        1                                       FIRST CLAIM FOR RELIEF

                                        2                                             Breach of Contract

                                        3           27.     Plaintiff incorporates by reference all allegations contained in all preceding paragraphs

                                        4   and reasserts those allegations as though fully set forth herein.

                                        5           28.     Plaintiff and Joseph were parties to valid, existing contracts, specifically seven

                                        6   separate credit markers executed between April 22 – May 4, 2018, in the total amount of $6,988,000.

                                        7           29.     Joseph agreed to pay interest on the Markers at the rate of 18% per annum from the

                                        8   date the particular marker was dishonored, plus all costs of collection, attorneys’ fees, litigation costs,
                                        9   and any other amounts authorized by law.
                                       10           30.     Joseph refused or otherwise failed to pay any amounts towards principal or interest on
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   Las Vegas, Nevada 89135




                                       11   the Markers.
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          (702) 792-3773




                                       12           31.     Plaintiff performed all material obligations under the Markers, or its performance was
                                       13   otherwise excused.
                                       14           32.     Joseph breached his obligations under the Markers by failing to repay any portion of
                                       15   the debt, whether it be principal, interest, fees, premiums, costs, or expenses.
                                       16           33.     As a direct and proximate result of Joseph’s breaches, Plaintiff has suffered damages
                                       17   in an amount in excess of $15,000.00.
                                       18           34.     Defendants, including Elizabeth and DOE I as Administrator of the Estate, are each

                                       19   jointly and severally liable for Joseph’s debts under the Markers.

                                       20           35.     Defendants, or their representatives, have disavowed any obligation to repay the

                                       21   Markers since Joseph’s passing and have triggered their obligation under the Markers to pay Plaintiff

                                       22   interest, costs, and fees associated with the debt and its recovery, as provided by the Markers.

                                       23           36.     Kaplan’s and Defendants’ acts and omissions have also caused and required Plaintiff

                                       24   to obtain the services of counsel to prosecute its claims. Therefore, Plaintiff is entitled to an award

                                       25   of reasonable attorneys’ fees and costs in addition to the other damages it has sustained as

                                       26   contemplated by the Markers.

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                                        1                                     SECOND CLAIM FOR RELIEF

                                        2                                             Unjust Enrichment

                                        3           37.     Plaintiff incorporates by reference all allegations contained in all preceding paragraphs

                                        4   and reasserts those allegations as though fully set forth herein.

                                        5           38.     Joseph, and Elizabeth as a member of the marital community jointly and severally

                                        6   liable for the debts of the community, voluntarily accepted, and Defendants have retained the value

                                        7   and benefit of, the loans made to him under the Markers.

                                        8           39.     Plaintiff performed all obligations owed under the Markers, to its detriment, now being
                                        9   owed more than seven million dollars, representing the debt, interest, attorneys’ fees and costs
                                       10   incurred in seeking collection of the outstanding debt.
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   Las Vegas, Nevada 89135




                                       11           40.     Defendants have unjustly retained that money with the community property assets, the
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                                       12   Estate, and Elizabeth having been enriched by the same. To permit Defendants to keep said money
                                       13   under the circumstances would offend fundamental principles of justice, equity and good conscience.
                                       14           41.     As a direct and proximate result of the foregoing, Plaintiff has suffered damages in an
                                       15   amount in excess of $15,000.00.
                                       16           42.     Defendants’ acts and omissions have also caused and required Plaintiff to obtain the
                                       17   services of counsel to prosecute its claims. Therefore, Plaintiff is entitled to an award of reasonable
                                       18   attorneys’ fees and costs in addition to the other damages it has sustained as contemplated by the

                                       19   Markers.

                                       20                                      THIRD CLAIM FOR RELIEF

                                       21                                             Declaratory Relief

                                       22           43.     Plaintiff incorporates by reference all allegations contained in all preceding paragraphs

                                       23   and reasserts those allegations as though fully set forth herein.

                                       24           44.     Plaintiff seeks a declaratory judgment that Joseph breached his obligations to Plaintiff

                                       25   under the Markers.

                                       26           45.     Nevada and California are both community property states. With some exceptions not

                                       27   relevant here, under the laws of both states, an individual is liable to a creditor for the debts incurred

                                       28   by his or her spouse during marriage, and recovery may be had against the community property.
                                                                                                7
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                                        1           46.     As such, Plaintiff further seeks a declaratory judgment that Elizabeth is personally

                                        2   liable to Plaintiff for Joseph’s debts under the Markers, to be paid to Plaintiff out of Joseph’s and

                                        3   Elizabeth’s community property assets.

                                        4           47.     Moreover, upon information and belief, DOE I is the personal representative and

                                        5   Administrator of Joseph’s Estate, and an estate is liable for the debts of the decedent. As such,

                                        6   Plaintiff seeks a declaratory judgment that the Estate is liable to Plaintiff for Joseph’s debts under the

                                        7   Markers.

                                        8           48.     As a direct and proximate result of the foregoing, Plaintiff has suffered damages in an
                                        9   amount in excess of $15,000.00.
                                       10           49.     Defendants’ acts and omissions have also caused and required Plaintiff to obtain the
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   Las Vegas, Nevada 89135




                                       11   services of counsel to prosecute its claims. Therefore, Plaintiff is entitled to an award of reasonable
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          (702) 792-3773




                                       12   attorneys’ fees and costs in addition to the other damages it has sustained as contemplated by the
                                       13   Markers.
                                       14                                          PRAYER FOR RELIEF

                                       15           WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally, as

                                       16   follows:

                                       17           1.      For declaratory relief that Joseph Kaplan breached his obligations to Plaintiff under

                                       18   the Markers;

                                       19           2.      For declaratory relief that Elizabeth Kaplan is liable for her deceased husband, Joseph

                                       20   Kaplan’s, gaming debts under the Markers;

                                       21           3.      For declaratory relief that DOE I, as the Administrator of Joseph Kaplan’s Estate, is

                                       22   liable to Plaintiff for Joseph Kaplan’s gaming debts under the Markers;

                                       23           4.      For damages in excess of Seven Million Dollars representing the unpaid principal,

                                       24   interests, attorneys’ fees and collection costs associated with the Markers;

                                       25           5.      For pre-judgment and post-judgment interest on the foregoing sums at the highest rate

                                       26   permitted by contract or law;

                                       27           6.      For an award of attorney’s fees and costs incurred in prosecuting this action; and

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                                            ACTIVE 44704937v2
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                                        1           7.      For such other and further relief as the Court may deem just and proper.

                                        2           DATED this 25th day of July 2019.

                                        3                                                    GREENBERG TRAURIG, LLP

                                        4                                                     /s/ Christopher R. Miltenberger
                                        5                                                    CHRISTOPHER R. MILTENBERGER, ESQ.
                                                                                             Nevada Bar No. 10153
                                        6                                                    JASON K. HICKS, ESQ.
                                                                                             Nevada Bar No. 13149
                                        7                                                    10845 Griffith Peak Drive, Suite 600
                                                                                             Las Vegas, NV 89135
                                        8                                                    Attorneys for Plaintiff Las Vegas Sands, LLC
                                        9

                                       10
10845 Griffith Peak Drive, Suite 600
   Las Vegas, Nevada 89135




                                       11
     Greenberg Traurig, LLP



      (702) 792-9002 (fax)
          (702) 792-3773




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                                                                                                                              CLERK OF THE COURT


                                        1   IAFD
                                            CHRISTOPHER R. MILTENBERGER, ESQ.
                                        2   Nevada Bar No. 10153
                                            JASON K. HICKS, ESQ.                                                          CASE NO: A-19-799126-C
                                        3   Nevada Bar No. 13149
                                            GREENBERG TRAURIG, LLP                                                                 Department 32
                                        4   10845 Griffith Peak Drive, Suite 600
                                            Las Vegas, NV 89135
                                        5   Telephone: (702) 792-3773
                                            Facsimile: (702) 792-9002
                                        6   Email: miltenbergerc@gtlaw.com
                                                   hicksja@gtlaw.com
                                        7   Counsel for Plaintiff Las Vegas Sands, LLC
                                        8                                                DISTRICT COURT
                                        9                                           CLARK COUNTY, NEVADA
                                       10   LAS VEGAS SANDS, LLC, a domestic limited                         Case No.:
10845 Griffith Peak Drive, Suite 600




                                            liability company,                                               Dept. No.:
    Las Vegas, Nevada 89135




                                       11
     Greenberg Traurig, LLP



       (702) 792-9002 (fax)
          (702) 792-3773




                                                                   Plaintiff,
                                       12
                                            v.                                                                     INITIAL APPEARANCE FEE
                                       13                                                                                DISCLOSURE
                                            ELIZABETH KAPLAN, individually; DOE I, AS
                                       14   THE ADMINISTRATOR OF THE ESTATE OF                                         Exempt from Arbitration
                                            JOSEPH S. KAPLAN; DOES II through X,                                Amount in Controversy Exceeds $50,000;
                                       15   inclusive; ROE entities I through X, inclusive,                     Declaratory and Injunctive Relief Sought
                                       16                         Defendants.
                                       17

                                       18           Pursuant to NRS Chapter 19, as amended by Assembly Bill 65, filing fees are submitted for

                                       19   the parties appearing in the above-entitled action as indicated below:

                                       20           LAS VEGAS SANDS                                     $ 270.00

                                       21                       TOTAL:                                  $ 270.00

                                       22           DATED this 25th day of July 2019.

                                       23                                                    GREENBERG TRAURIG, LLP

                                       24                                                    /s/ Christopher R. Miltenberger
                                       25                                                    CHRISTOPHER R. MILTENBERGER, ESQ.
                                                                                             Nevada Bar No. 10153
                                       26                                                    JASON K. HICKS, ESQ.
                                                                                             Nevada Bar No. 13149
                                       27                                                    10845 Griffith Peak Drive, Suite 600
                                                                                             Las Vegas, NV 89135
                                       28                                                    Attorneys for Plaintiff Las Vegas Sands, LLC

                                            ACTIVE 44792531v1

                                                                                Case Number: A-19-799126-C
Case 2:19-cv-01565-JCM-VCF Document 1-1 Filed 09/09/19 Page 12 of 14
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          Case 2:19-cv-01565-JCM-VCF Document 1-1 Filed 09/09/19 Page  14 of 14
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                                                                                                        Steven D. Grierson
                                                                                                        CLERK OF THE COURT
 1                                                  AFFIDAVIT OF SERVICE

 2                                          DISTRICT COURT CLARK COUNTY
                                           CLARK COUNTY, STATE OF NEVADA
 3
     LAS VEGAS SANDS, LLC, a domestic limited liability                        Case No.:A-19-799126-C
 4                                                                             Christopher R. Miltenberger, Esq., Bar No.10153
     company,
                                                                               GREENBERG TRAURIG, LLP
 5                        Plaintiff(s)                                         10845 Griffith Peak Drive, 600
                   v.                                                          Las Vegas, NV 89135
 6                                                                             (702) 792-3773
 ? ELIZABETH KAPLAN, individually; et al.,                                     Attorneys for the Plaintiff(s)

                                                                               Client File# 137617.015200
                          Defendant(s)
 8

 g I, Alfredo Ricardo Paz, being sworn, states: That I am a licensed process server registered in California. I received a
   copy of the Summons; Complaint, from GREENBERG TRAURIG, LLP
10 That on 8/18/2019 at 6:20 PM at 24616 Malibu Road, Malibu, CA 90265 I served Elizabeth Kaplan with the above-listed
     documents by personally delivering a true and correct copy of the documents by leaving with Elizabeth Kaplan.
11
     That the description of the person actually served is as follows:
     Gender: Female, Race: Caucasian, Age: 51 - 55 yrs., Height: 5'7 - 6'0, Weight: 161-180 lbs., Hair: Brown, Eyes:Hazel
12

13

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     I being duly sworn, states: that all times herein, Affiant was and is over 18 years of age, not a party to or interested in
19
     the proceedings in which this Affidavit is made. I declare under penalty of perjury that the foregoing is true and correct.
20

21
                                                                                   (No Notary Per NRS 53.045)
22
                                                                                   Service Provided for:
23                 0    p z                                                        Nationwide Legal Nevada, LLC
   Registered Wo     ard# 3267
                                                                                   626 S. 7th Street
   State of Califo ·
24                                                                                 Las Vegas, NV 89101
                                                                                   (702) 385-5444
25                                                                                 Nevada Lie # 1656

26

27

28

      Control #:NV192526NA
      Reference: 137617.015200



                                                    Case Number: A-19-799126-C
